Case 2:05-cv-02470-.]DB-dkv Document 4 Filed 07/14/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATES DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL \h PH h= 00
WESTERN DIvIsIoN
WGWSM.GOULD

GLORIA RoGERs, UB§’»GL}§ §§lYQTM
Individually and as the ‘ "i l
Administrator of the Estate
and Succession of WILBERT
KEITH ROGERS,

Plaintiff,
vs. No. 05-2470-B/V
QUENTON WHITE, Commissioner
of the Tennessee Department of
Corrections, DAVID MILLS, Warden
of West Tennessee State Penitentiary,
and UNKNOWN JOHN DOE GUARDS,

Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE

Mr. Willie J. Nunnery has moved to appear m w lig for plaintiff in this
action. Mr. Nunnery is licensed to practice law in the States of Wisconsin and
Louisiana and is a member in good standing of the United States District Courts in the
Eastern and Western District of Wisconsin and in the Eastern, Middle and Western

Districts of Louisiana. For good cause shown, that motion is granted lt is hereby

ordered that Wi]lie J. Nunnery be admitted B _l_iL vice and may actively participate in

 

this action before this court. ms document entered h
With Rule 58 and/or ?g(aj:;§::;l<et sheet fn eggp;;ance
IT ls so oRDERED. '05
J IEL BREEN `\
D STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02470 Was distributed by faX, mail, or direct printing on
July l5, 2005 to the parties listed.

 

Willie J. Nunnery
Nunnery Lavv Offlces
802 W. Broadvvay

#21 l

Madison, Wl 537l3--l86

Honorable J. Breen
US DISTRICT COURT

